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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       LORENZO R. CUNNINGHAM,                           Case No.14-cv-04814-HSG
                                                         Plaintiff,
                                   8
                                                                                            ORDER DISMISSING CLAIMS AS TO
                                                  v.                                        MEDTRONIC; GRANTING SUMMARY
                                   9
                                                                                            JUDGMENT AS TO FEDERAL CLAIM
                                  10       MEDTRONIC INC., et al.,                          AGAINST BURCH; DISMISSING
                                                                                            STATE-LAW CLAIMS AS TO BURCH
                                                         Defendants.
                                  11
                                                                                            Re: Dkt. Nos. 149, 165
                                  12
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 United States District Court




                                  13            Pending before the Court are two motions for summary judgment: one by Defendant Shane

                                  14   Burch (“Burch”), Dkt. No. 149, and the other by Medtronic Inc. (“Medtronic”), Dkt. No. 165. As

                                  15   to Medtronic, the Court GRANTS Plaintiff Lorenzo Cunningham’s motion under Federal Rule of

                                  16   Civil Procedure 41 and DISMISSES those claims WITH PREJUDICE. As to Burch, the Court

                                  17   (1) GRANTS the motion for summary judgment as to Plaintiff’s federal claim, and (2) declines to

                                  18   exercise supplemental jurisdiction over his remaining state-law claims and DISMISSES them

                                  19   WITHOUT PREJUDICE.

                                  20   I.       BACKGROUND
                                  21            Plaintiff, proceeding pro se, filed the operative Second Amended Complaint on February

                                  22   21, 2017.1 Dkt. No. 113 (Second Amended Complaint, or “SAC”). Burch answered the SAC on

                                  23   March 10, 2017, Dkt. No. 115, and Medtronic answered on March 13, 2017, Dkt. No. 116.

                                  24            On October 11, 2017, Burch filed his motion for summary judgment. Dkt. No. 149. On

                                  25   November 29, 2017, Plaintiff’s counsel entered his appearance. Dkt. No. 152. The Court

                                  26   subsequently lifted the stay as to Medtronic’s claims and reset the briefing schedule. Dkt. No.

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                                           He filed the initial Complaint on October 30, 2014. Dkt. No. 1.
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                                   1   157. On May 4, 2018, Medtronic filed its motion for summary judgment. Dkt. No. 165. On June

                                   2   14, 2018, Plaintiff filed his opposition to Burch’s motion, Dkt. No. 185, and a statement of non-

                                   3   opposition regarding Medtronic’s motion, Dkt. No. 184. Medtronic replied on June 26, 2018, Dkt.

                                   4   No. 186, and Burch replied on June 27, 2018, Dkt. No. 187.

                                   5   II.      MEDTRONIC’S MOTION FOR SUMMARY JUDGMENT
                                   6            On August 8, 2018, in light of Plaintiff’s statement of non-opposition to Medtronic’s

                                   7   motion for summary judgment, the Court directed him to show cause why his claims against

                                   8   Medtronic should not be deemed abandoned. See Dkt. No. 188. On August 13, 2018, Plaintiff

                                   9   filed a short response: “Plaintiff does not abandon [his] claims against any party but instead does

                                  10   not oppose entry of judgment in favor of Medtronic Inc. only based upon Medtronic’s Motion for

                                  11   Summary Judgment and its undisputed facts.” Dkt. No. 189.

                                  12            At the August 23, 2018 hearing on Medtronic’s motion, counsel clarified that Plaintiff was
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                                  13   in fact abandoning his claims as to Medtronic. In response to the Court’s inquiry, counsel stated

                                  14   on the record that he sought to voluntarily dismiss those claims with prejudice. In these

                                  15   circumstances, this “action may be dismissed at the plaintiff’s request only by court order, on

                                  16   terms the court considers proper.” Fed. R. Civ. P. 41(a)(2). Defendants stated on the record that

                                  17   they had no objection to the Court’s granting Plaintiff’s oral Rule 41 motion.2 Moreover, the

                                  18   Court finds the material outcome of granting Plaintiff’s motion and granting Medtronic’s motion

                                  19   to be the same.

                                  20            Accordingly, the Court grants Plaintiff’s motion for voluntary dismissal, and dismisses his

                                  21   claims against Medtronic with prejudice. This terminates as moot Medtronic’s pending motion for

                                  22   summary judgment. See Dkt. No. 165.

                                  23   III.     BURCH’S MOTION FOR SUMMARY JUDGMENT
                                  24            In granting Plaintiff leave to file the SAC, the Court found that, liberally construed,

                                  25   Plaintiff stated claims against Burch for “deliberate indifference to serious medical needs” and

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                                         Medtronic stated its preference that the Court decide the pending summary judgment motion on
                                  28   the merits, but in the alternative did not object to the Court’s granting Plaintiff’s request for a
                                       voluntary dismissal.
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                                   1   “supplemental state law claims for negligence.” Dkt. No. 112 at 3. Because Plaintiff is asserting

                                   2   federal question jurisdiction with respect to his deliberate indifference claim and supplemental

                                   3   jurisdiction with respect to his remaining claims, the Court begins its analysis with the former.

                                   4          A.      Legal Standard
                                   5          Summary judgment is proper when a “movant shows that there is no genuine dispute as to

                                   6   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

                                   7   A fact is “material” if it “might affect the outcome of the suit under the governing law.” Anderson

                                   8   v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). And a dispute is “genuine” if there is evidence

                                   9   in the record sufficient for a reasonable trier of fact to decide in favor of the nonmoving party. Id.

                                  10   But in deciding if a dispute is genuine, the court must view the inferences reasonably drawn from

                                  11   the materials in the record in the light most favorable to the nonmoving party, Matsushita Elec.

                                  12   Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-88 (1986), and “may not weigh the evidence
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                                  13   or make credibility determinations,” Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997),

                                  14   overruled on other grounds by Shakur v. Schriro, 514 F.3d 878, 884-85 (9th Cir. 2008). If a court

                                  15   finds that there is no genuine dispute of material fact as to only a single claim or defense or as to

                                  16   part of a claim or defense, it may enter partial summary judgment. Fed. R. Civ. P. 56(a).

                                  17          With respect to summary judgment procedure, the moving party always bears both the

                                  18   ultimate burden of persuasion and the initial burden of producing those portions of the pleadings,

                                  19   discovery, and affidavits that show the absence of a genuine issue of material fact. Celotex Corp.

                                  20   v. Catrett, 477 U.S. 317, 323 (1986). Where the moving party will not bear the burden of proof on

                                  21   an issue at trial, it “must either produce evidence negating an essential element of the nonmoving

                                  22   party’s claim or defense or show that the nonmoving party does not have enough evidence of an

                                  23   essential element to carry its ultimate burden of persuasion at trial.” Nissan Fire & Marine Ins.

                                  24   Co. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000). Where the moving party will bear the

                                  25   burden of proof on an issue at trial, it must also show that no reasonable trier of fact could not find

                                  26   in its favor. Celotex, 477 U.S. at 325. In either case, the movant “may not require the nonmoving

                                  27   party to produce evidence supporting its claim or defense simply by saying that the nonmoving

                                  28   party has no such evidence.” Nissan Fire, 210 F.3d at 1105. “If a moving party fails to carry its
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                                   1   initial burden of production, the nonmoving party has no obligation to produce anything, even if

                                   2   the nonmoving party would have the ultimate burden of persuasion at trial.” Id. at 1102-03.

                                   3          “If, however, a moving party carries its burden of production, the nonmoving party must

                                   4   produce evidence to support its claim or defense.” Id. at 1103. In doing so, the nonmoving party

                                   5   “must do more than simply show that there is some metaphysical doubt as to the material facts.”

                                   6   Matsushita Elec., 475 U.S. at 586. A nonmoving party must also “identify with reasonable

                                   7   particularity the evidence that precludes summary judgment,” because the duty of the courts is not

                                   8   to “scour the record in search of a genuine issue of triable fact.” Keenan v. Allan, 91 F.3d 1275,

                                   9   1279 (9th Cir. 1996). If a nonmoving party fails to produce evidence that supports its claim or

                                  10   defense, courts must enter summary judgment in favor of the movant. Celotex, 477 U.S. at 323.

                                  11          B.      Discussion
                                  12          For purposes of deciding Burch’s motion, it is sufficient to say that Plaintiff contends that
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                                  13   the broken rod implants he suffered in 2012 and 2016 demonstrate Burch’s deliberate indifference

                                  14   to Plaintiff’s serious medical needs. See SAC at 11-23. Burch counters that Plaintiff does not

                                  15   meet his evidentiary burden. The Court agrees with Burch.

                                  16          “Under 42 U.S.C. § 1983, to maintain an Eighth Amendment claim based on prison

                                  17   medical treatment, an inmate must show ‘deliberate indifference to serious medical needs.’” Jett

                                  18   v. Penner, 439 F.3d 1091, 1096 (9th Cir. 2006) (citing Estelle v. Gamble, 429 U.S. 97, 104

                                  19   (1976)). The Ninth Circuit uses a two-part test to determine whether a plaintiff has shown

                                  20   deliberate indifference. Id. First, “the plaintiff must show a serious medical need by

                                  21   demonstrating that failure to treat a prisoner’s condition could result in further significant injury or

                                  22   the unnecessary and wanton infliction of pain.” Id. “Second, the plaintiff must show the

                                  23   defendant’s response to the need was deliberately indifferent.” Id. The second part of the test

                                  24   involves its own two-pronged inquiry: the plaintiff must show (1) “a purposeful act or failure to

                                  25   respond to a prisoner’s pain or possible medical need,” and (2) “harm caused by the indifference.”

                                  26   Id. Indifference may be present when “prison officials deny, delay, or intentionally interfere with

                                  27   medical treatment,” or “may be shown by the way in which prison physicians provide medical

                                  28   care.” Id.
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                                   1           “The deliberate indifference doctrine is limited in scope,” and it is insufficient as a matter

                                   2   of law to show merely “an inadvertent failure to provide adequate medical care” or “a difference

                                   3   of medical opinion as to the need to pursue one course of treatment over another.” Wilhelm v.

                                   4   Rotman, 680 F.3d 1113, 1122 (9th Cir. 2012) (citations, brackets, and emphasis omitted); see also

                                   5   Toguchi v. Chung, 391 F.3d 1051, 1057 (9th Cir. 2004) (“Mere negligence in diagnosing or

                                   6   treating a medical condition, without more, does not violate a prisoner’s Eighth Amendment

                                   7   rights.”) (citation omitted).

                                   8           Plaintiff all but abandons his deliberate indifference claim, insofar as he does not mention

                                   9   it in his opposition brief.3 Most importantly, he enters no evidence on this question into the

                                  10   record, leaving no way for a reasonable trier of fact to decide in his favor. See Anderson, 477 U.S.

                                  11   at 248. Even drawing all reasonable inferences in Plaintiff’s favor, there is no genuine dispute of

                                  12   material fact on the question of whether Burch showed deliberate indifference to Plaintiff’s serious
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                                  13   medical needs: Plaintiff has proffered nothing, and the evidence proffered by Burch conclusively

                                  14   rebuts Plaintiff’s deliberate indifference claim. Accordingly, the Court grants Burch’s summary

                                  15   judgment motion as to Plaintiff’s deliberate indifference claim under section 1983.

                                  16           C.      Supplemental Jurisdiction
                                  17           Because Burch is entitled to summary judgment on Plaintiff’s federal claim under section

                                  18   1983, all that remains are Plaintiff’s state-law claims, which are encompassed by this Court’s

                                  19   supplemental jurisdiction. See 28 U.S.C. § 1367(a). But the Court may decline to exercise

                                  20   supplemental jurisdiction if it has dismissed all claims over which it has original jurisdiction. See

                                  21   Sanford v. MemberWorks, Inc., 625 F.3d 550, 561 (9th Cir. 2010) (citing 28 U.S.C. § 1367(c)(3)).

                                  22   “[I]n the usual case in which all federal-law claims are eliminated before trial, the balance of

                                  23   factors to be considered under the pendent jurisdiction doctrine—judicial economy, convenience,

                                  24   fairness, and comity—will point toward declining to exercise jurisdiction over the remaining state-

                                  25   law claims.” Id. (citation omitted) (original brackets). The Court finds this to be “the usual case,”

                                  26   and accordingly declines to exercise supplemental jurisdiction and dismisses Plaintiff’s state-law

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                                  28    Counsel for Plaintiff also conceded at the August 23, 2018 hearing that the primary claim against
                                       Burch was the cause of action for professional negligence.
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                                   1   claims without prejudice.

                                   2   IV.    CONCLUSION
                                   3          For the foregoing reasons, the Court GRANTS Plaintiff’s motion under Federal Rule of

                                   4   Civil Procedure 41 and DISMISSES his claims against Medtronic WITH PREJUDICE. The

                                   5   Court also (1) GRANTS the motion for summary judgment as to Plaintiff’s federal claim, and (2)

                                   6   declines to exercise supplemental jurisdiction over his remaining state-law claims and

                                   7   DISMISSES them WITHOUT PREJUDICE to refiling in state court.

                                   8          This order terminates as moot Medtronic’s pending motion for summary judgment. See

                                   9   Dkt. No. 165. The Clerk is directed to enter judgment in favor of Burch in accordance with the

                                  10   above and to close the case.

                                  11          IT IS SO ORDERED.

                                  12   Dated: 8/24/18
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                                                                                                   HAYWOOD S. GILLIAM, JR.
                                  15                                                               United States District Judge
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